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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF MINNESOTA



    Elliett Williams,
                                                              Case No. 24-CV-02675 (DSD/DJF)


                     Plaintiff,
                                                                   PROTECTIVE ORDER
             v.

    Public Housing Agency of the City of Saint
    Paul,



                     Defendant.



       This matter is before the Court on the parties’ Stipulation for Protective Order

("Stipulation”) (ECF No. 27). The Court APPROVES the parties’ Stipulation. Based on the

Stipulation and for good cause shown, the following shall govern discovery in this case:

1      Definitions. As used in this protective order:

       (a)        “attorney” means an attorney who has appeared in this action;

       (b)        “confidential document” means a document designated as confidential under this

                  protective order;

       (c)        to “destroy” electronically stored information means to delete from all databases,

                  applications, and file systems so that the information is not accessible without the

                  use of specialized tools or techniques typically used by a forensic expert;

       (d)        “document” means information disclosed or produced in discovery, including at a

                  deposition;

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    (e)   “notice” or “notify” means written notice;

    (f)   “party” means a party to this action; and

    (g)   “protected document” means a document protected by a privilege or the work-

          product doctrine.

2   Designating a Document or Deposition as Confidential.

    (a)   A party or non-party disclosing or producing a document may designate it as

          confidential if the party or non-party contends that it contains confidential or

          proprietary information.

    (b)   A party or non-party may designate a document as confidential by conspicuously

          marking each page with the word “confidential.”

    (c)   Deposition testimony may be designated as confidential:

          (1)    on the record at the deposition; or

          (2)    after the deposition, by promptly notifying the parties and those who were

          present at the deposition.

    (d)   If a witness is expected to testify as to confidential or proprietary information, a

          party or non-party may request that the witness’s deposition be taken in the

          presence of only those persons entitled to receive confidential documents.

3   Who May Receive a Confidential Document.

    (a)   A confidential document may be used only in this action.

    (b)   No person receiving a confidential document may reveal it, except to:

          (1)    the court and its staff;

          (2)    an attorney or an attorney’s partner, associate, or staff;



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           (3)     a person shown on the face of the confidential document to have authored

                   or received it;

           (4)     a court reporter or videographer retained in connection with this action;

           (5)     a party (subject to paragraph 3(c)); and

           (6)     any person who:

                   (A)     is retained to assist a party or attorney with this action; and

                   (B)     signs a declaration that contains the person’s name, address,

                           employer, and title, and that is in substantially this form:

                                   I have read, and agree to be bound by, the protective order
                           in the case captioned Williams v. Public Housing Agency of the City
                           of Saint Paul, 24-CV-2675, in the United States District Court for
                           the District of Minnesota. As soon as my work in connection with
                           that action has ended, but not later than 30 days after the termination
                           of that action (including any appeals), I will return or destroy any
                           confidential document that I received, any copy of or excerpt from
                           a confidential document, and any notes or other document that
                           contains information from a confidential document.
                                   I declare under penalty of perjury that the foregoing is true
                           and correct.

    (c)    A party or non-party may supplement the “confidential” mark (see paragraph 2(b))

           with the words “attorney’s eyes only,” in which case a confidential document so

           designated may not be revealed to another party.

    (d)    If a confidential document is revealed to someone not entitled to receive it, the

           parties must make reasonable efforts to retrieve it.

4   Serving This Protective Order on a Non-Party. A party serving a subpoena on a non-

    party must simultaneously serve a copy of this protective order and of Local Rule 5.6.

5   Correcting an Error in Designation. A party or non-party who discloses or produces a

    confidential document not designated as confidential may, within 7 days after discovering

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    the error, provide notice of the error and produce a copy of the document designated as

    confidential.

6   Use of a Confidential Document in Court.

    (a)    Filing. This protective order does not authorize the filing of any document under

           seal. A confidential document may be filed only in accordance with LR 5.6.

    (b)    Presentation at a hearing or trial. A party intending to present another party’s or a

           non-party’s confidential document at a hearing or trial must promptly notify the

           other party or the non-party so that the other party or the non-party may seek relief

           from the court.

7   Changing a Confidential Document’s Designation.

    (a)    Document disclosed or produced by a party. A confidential document disclosed or

           produced by a party remains confidential unless the parties agree to change its

           designation or the court orders otherwise.

    (b)    Document produced by a non-party. A confidential document produced by a non-

           party remains confidential unless the non-party agrees to change its designation or

           the court orders otherwise after providing an opportunity for the non-party to be

           heard.

    (c)    Changing a designation by court order. A party who cannot obtain agreement to

           change a designation may move the court for an order changing the designation. If

           the motion affects a document produced by a non-party then, with respect to the

           motion, that non-party is entitled to the same notice and opportunity to be heard as

           a party. The party or non-party who designated a document as confidential must

           show that the designation satisfies Fed. R. Civ. P. 26(c).

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8    Handling a Confidential Document after Termination of Litigation.

     (a)   Within 60 days after the termination of this action (including any appeals), each

           party must:

           (1)       return or destroy all confidential documents; and

           (2)       notify the disclosing or producing party or non-party that it has returned or

                     destroyed all confidential documents within the 60-day period.

     (b)   Notwithstanding paragraph 8(a), each attorney may retain a copy of any

           confidential document submitted to the court.

9    Inadvertent Disclosure or Production to a Party of a Protected Document.

     (a)   Notice.

           (1)       A party or non-party who discovers that it has inadvertently disclosed or

                     produced a protected document must promptly notify the receiving party

                     and describe the basis of the claim of privilege or protection. If the party or

                     non-party provides such notice and description, the privilege or protection

                     is not waived.

           (2)       A party who discovers that it may have received an inadvertently disclosed

                     or produced protected document must promptly notify the disclosing or

                     producing party or non-party.

     (b)   Handling of Protected Document. A party who is notified or discovers that it may

           have received a protected document must comply with Fed. R. Civ. P. 26(b)(5)(B).

10   Security Precautions and Data Breaches.

     (a)   Each party must make reasonable efforts to protect the confidentiality of any

           confidential document disclosed or produced to that party.

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     (b)    A party who learns of a breach of confidentiality must promptly notify the

            disclosing or producing party or non-party of the scope and nature of that breach

            and make reasonable efforts to remedy the breach.

11   Survival of Obligations. The obligations imposed by this protective order survive the

     termination of this action.

IT IS SO ORDERED.




Dated: December 19, 2024                    s/ Dulce J. Foster
                                            Dulce J. Foster
                                            United States Magistrate Judge




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